           Case 1:20-cv-03998-AKH Document 11 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                :
GUSTAV KLOSZEWSKI,                                              :   ORDER REGARDING
                                                                :   CERTIFICATE OF
                                         Petitioner,            :   APPEALABILITY
                                                                :
             -against-                                          :   20 Civ. 3998 (AKH)
                                                                :   16 Cr. 200 (AKH)
UNITED STATES OF AMERICA,                                       :
                                                                :
                                         Respondent             :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On July 24, 2020, I entered an order denying Petitioner Gustav Kloszewski’s

motion to vacate his sentence. I subsequently denied Petitioner’s motion for reconsideration on

September 29, 2020. The Court declines to issue a Certificate of Appealability because

Petitioner has "not made a substantial showing of the denial of a constitutional right," 28 U.S.C.

§ 2253(c) (2), and because Petitioner has failed to identify a claim that jurists of reason would

find debatable as to whether Petitioner was denied such a right. See Slack v. McDaniel, 529 U.S.

473, 478 (2000).



                 SO ORDERED.

Dated:           New York, New York                           _________/s/ Alvin K. Hellerstein_______
                 November 6, 2020                                   ALVIN K. HELLERSTEIN
                                                                    United States District Judge




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